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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


  Defense Distributed, et al.                     No. 3:19-cv-4753
                                                  No. 3:21-cv-9867
                     Plaintiffs,

                     v.

  Matthew J. Platkin, Acting New Jersey
  Attorney General,
                    Defendant.


              Plaintiffs’ Brief in Support of Plaintiffs’ Motion to
          Reconsider the Order Denying Plaintiffs’ Motion to Transfer



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                                    ARGUMENT

       Plaintiffs respectfully request that the Court reconsider the July 27 decision

 denying Plaintiffs’ motion to transfer, ECF Nos. 58, 59. The decision’s lynchpin

 reasoning was wrong when originally arrived at and is even more wrong now.

       When the Court issued the July 27 decision, the Court had before it two

 consolidated cases. Case number 3:19-cv-4753 was originally filed in this Court.

 Its plaintiffs were Defense Distributed, the Second Amendment Foundation, Inc.,

 and a group the Court refers to as the “Non-Texas Plaintiffs.” See Doc. 58 at 2.

 Case number 3:21-cv-9867 was originally filed in the United States District Court

 for the Western District of Texas and later transferred here. Its plantiffs are just

 Defense Distributed and the Second Amendment Foundation, Inc. See id.

       The July 27 decision relies on the premise that both cases will be prosecuted

 simultaneously in different courts no matter what. The premise of simultaneous

 litigation is the decision’s lynchpin and is expressly stated on page 26:

       Plaintiffs’ proposal that the Court transfer DD’s and SAF’s claims
       against the NJAG in the Texas action back to Texas, while staying the
       Non-Texas Plaintiffs’ claims in the NJ action, would not prevent
       duplicative litigation. For the reasons stated supra, the Non-Texas
       Plaintiffs have expressed an intention to litigate their claims, which are
       distinct from those that DD and SAF assert, regardless of how DD and
       SAF proceed.

 ECF No. 58 at 26. That premise was wrong when first announced and, due to key

 changes in procedural posture that took place today, is even more wrong now.

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       First, reconsideration is warranted because the premise of simultaneous

 litigation was demonstrably wrong when announced. The July 27 decision reasons

 that both cases will be prosecuted simultaneously in different courts no matter what.

 But to the contrary, all Plaintiffs clearly represented otherwise in their brief. The

 brief filed for all Plaintiffs—including the Non-Texas Plaintiffs—took the position

 that, if case number 3:21-cv-9867 were transferred back to the Western District of

 Texas and case number 3:19-cv-4753 left behind in this Court, the Court here could

 and should stay case number 3:19-cv-4753 until the case in Texas concludes. ECF

 No. 56 at 3-4, 7. Thus, the decision’s premise of simultaneous litigation was wrong

 when rendered because Plaintiffs had established that they would not pursue it.

       Second, reconsideration is warranted because the premise of simultaneous

 litigation is even more wrong now. The procedural posture changed in a critical way

 today: All Plaintiffs in case number 3:19-cv-4753 invoked Federal Rule of Civil

 Procedure 41(a)(1)(A)(i) to immediately dismiss the action in case number 3:19-cv-

 4753 without prejudice. The dismissal took effect immediately and without the need

 for court order. See Fed. R. Civ. P. 41(a)(1)(A)(i). Whereas before Plaintiffs had

 established in briefing that simultaneous litigation would not occur—a showing that

 should have been enough on its own—today’s dismissal puts the issue beyond doubt

 by establishing as a matter of law that simultaneous litigation cannot occur.



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       To be clear, no Plaintiff concedes that this dismissal was necessary. All

 maintain that the July 27 decision is wrong on its own terms, even with the prior

 procedural posture, for the reasons prior briefs explained. See ECF Nos. 52, 54, 56.

       Now that the premise of simultaneous litigation has been dismantled in every

 way possible, the July 27 decision cannot be sustained. Case number 3:21-cv-9867,

 with DD and SAF as the only Plaintiffs, is now the only case before this Court. All

 potential concerns about overlapping litigation are gone.1 Also gone is the notion

 that different procedural postures diminish the deference owed to the Fifth Circuit’s

 decision. For all present intents and purposes, the transfer inquiry posed to this Court

 matches the one posed to the Fifth Circuit. That court’s decision should be followed

 both because it is right and because it is owed comity’s deference regardless. Id.

       Plaintiffs request expedited consideration of this motion because the case

 involves extraordinary constitutional concerns, irreparable injury that is occurring

 now, and further irreparable injury that is imminently threatened. The Fifth Circuit

 has rightly ruled that this case belongs in the United States District Court for the

 Western District of Texas and – critically – that, “[u]pon return of this case to the




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  Gone too are any possible concerns regarding consolidation effects, which were
 nonexistent in the first place. See 9A Charles Alan Wright & Arthur R. Miller, et
 al., Federal Practice & Procedure § 2382 (3d ed. West 2022) (“actions do not lose
 their separate identity because of consolidation.”); Penn W. Assocs. v. Cohen, 371
 F.3d 118, 121 (3d Cir. 2004) (administrative closure has no real legal consequence).
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 Western District of Texas, the court should entertain a motion for preliminary

 injunction expeditiously.” Def. Distributed v. Bruck, 30 F.4th 414, 421 n.2 (5th Cir.

 2022). Expediting this motion fulfills that aspect of the Fifth Circuit’s decision.

                                   CONCLUSION

       The motion to reconsider should be expedited and granted. The Court should

 grant transfer the case docketed in this Court as cause number 3:21-cv-9867 to the

 Western District of Texas immediately.


  Date: July 27, 2022                       Respectfully submitted,

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